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         Within 30 days following Defendants’ submission of a responsive pleading or motion, the
parties shall provide to one another the documents and information described in the Initial Discovery
Protocols for the relevant time period. This obligation supersedes the parties’ obligations to provide
initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure. The parties shall
use the documents and information exchanged in accordance with the Initial Discovery Protocols to
prepare the Rule 26(f) discovery plan.

        The parties’ responses to the Initial Discovery Protocols shall comply with the Federal Rules
of Civil Procedure obligations to certify and supplement discovery responses, as well as the form of
production standards for documents and electronically stored information. As set forth in the
attached Protocols, this Initial Discovery is not subject to objections, except upon the grounds set
forth in Rule 26(b)(2)(B) of the Federal Rules of Civil Procedure.

        In addition, counsel are directed to confer with each other prior to the document submission
deadline regarding settlement and each of the other subjects to be considered at a Rule 16 conference.
Additionally, in accordance with Paragraph II.B of the Court’s Individual Practices, the parties shall
submit via e-mail (Torres_NYSDChambers@nysd.uscourts.gov) a Proposed Civil Case Management
Plan and Scheduling Order no later than April 29, 2024. The parties shall use this Court’s form
Proposed Civil Case Management Plan and Scheduling Order, which is also available at
https://nysd.uscourts.gov/hon-analisa-torres.

        Included with the Proposed Civil Case Management Plan and Scheduling Order, the parties
shall jointly submit a letter, not to exceed five (5) pages, providing the following information in
separate paragraphs:

       (1)     A brief statement of the nature of the action and the principal defenses thereto;

       (2)     A brief explanation of why jurisdiction and venue lie in this Court;

       (3)     A statement of all existing deadlines, due dates, and/or cut-off dates;

       (4)     A brief description of any outstanding motions;

       (5)     A brief description of any discovery that has already taken place, including
               discovery pursuant to the Initial Discovery Protocols, and of any discovery that
               is necessary for the parties to engage in meaningful settlement negotiations;

       (6)     A list of all prior settlement discussions, including the date, the parties involved,
               and the approximate duration of such discussions, if any; and

       (7)     Any other information that the parties believe may assist the Court in advancing
               the case to settlement or trial, including, but not limited to, a description of any
               dispositive issue or novel issue raised by the case.

         If this case has been settled or otherwise terminated, counsel are not required to submit such
letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or other proof of
termination is filed on the docket.

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        In accordance with the Court’s Individual Practices, requests for an extension shall be made in
writing and filed on ECF as letter-motions, and must be received at least 48 hours before the deadline.
The written submission must state: (1) the word “Scheduling” in the subject line; (2) the original
date(s); (3) the number of previous requests for extension; (4) whether these previous requests were
granted or denied; and (5) whether the adversary consents and, if not, the reasons given by the
adversary for refusing to consent. Unless counsel are notified that the deadline has been extended,
the documents will be due as scheduled.

        Counsel who have noticed an appearance as of the issuance of this order are directed:
(1) to notify all other parties’ attorneys in this action by serving upon each of them a copy of
this order and the Court’s Individual Practices forthwith, and (2) to file proof of such notice
with the Court. If unaware of the identity of counsel for any of the parties, counsel receiving this
order must forthwith send a copy of this order and the Court’s Individual Practices to that party
personally.

       SO ORDERED.

Dated: February 29, 2024
       New York, New York




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